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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.
                                                     Case No. 1:21-cr-160-3, -4 (TJK)
 FELICIA KONOLD and
 CORY KONOLD

             Defendant.

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court impose the following sentences:

        Felicia Konold: 6 months in custody, 3 years of supervised release, restitution in the

amount of $2,000, and the mandatory special assessment of $100.

        Cory Konold: 3 months in custody, 3 years of supervised release, restitution in the amount

of $2,000, and the mandatory special assessment of $100.

        The government’s recommended custodial sentences fall within the guidelines range as

agreed to by the parties and as calculated in the presentence report [PSR]. The higher

recommendation for Felicia Konold reflects her aggravated conduct, including outfitting herself

for violence in advance of the riot and celebrating her leading role afterward.

   I.         INTRODUCTION

        The defendants, Felicia Konold and Cory Konold (hereinafter “Felicia” and “Cory,” and

together “the Konolds”), participated in the January 6, 2021 attack on the United States Capitol—

a violent attack that forced an interruption of the certification of the 2020 Electoral College vote

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count, threatened the peaceful transfer of power after the 2020 Presidential election, injured more

than one hundred police officers, and resulted in more than 2.9 million dollars in losses. 1

       Both defendants were enthusiastic members of the very first wave of rioters to overpower

police at Peace Circle and force its way onto the Capitol grounds. They acted as part of a group

that included members of the Proud Boys, whom the Konolds met on the morning of January 6

and marched with in the leadup to the riot. As reflected herein, the Konolds eagerly followed

William Chrestman and other co-defendants as they engaged in obstructive and intimidating

conduct at the Capitol building. For example, after unlawfully entering the restricted area, the

Konolds positioned themselves with Chrestman and others at the front of the crowd, where Felicia

shouted encouragement and both siblings threw the weight of their bodies against a police line.

They ultimately entered the building, moving with a group that pursued police officers as it

progressed deeper into the building, where Cory stole a police riot helmet as a trophy.

       The government recommends that the Court sentence Felicia Konold to 6 months of

incarceration and Cory Konold to 3 months of incarceration for their respective convictions for

violating 18 U.S.C. § 231(a)(3). For both defendants, a custodial sentence is necessary to

appropriately reflect their conduct and to serve the purposes of specific and general deterrence.




1
  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.


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    II.        FACTUAL BACKGROUND

          A.     The January 6, 2021 Attack on the Capitol

          The government refers the court to the stipulated Statements of Offense filed in this case,

ECF 207 (Felicia); ECF 210 (Cory), for a short summary of the January 6, 2021 attack on the

United States Capitol by hundreds of rioters, in an effort to disrupt the peaceful transfer of power

after the November 3, 2020 presidential election.

          B.     The Konold’s Role in the January 6, 2021 Attack on the Capitol

          Felicia Konold, in what appears to be her last journal entry prior to January 6, explained

her motivations for traveling to Washington, DC: “I understand what the deep state is trying to do

to humanity. And i truly do feel like it is my life mission to stop them…. I do not want to leave

my son or my brother its tearing my heart, but i must protect the future…. This is what my life

purpose is, to make sure good TRUMPS Evil.” Gov Ex. 1 at 2 (capitalization in original). Evidently

anticipating violence, she wrote a list of items that included “Bear Spray,” “Walkie talkie,” and

“First Aid.” Id. at 1.

                                 Approach to the Capitol Grounds

          The Konolds came to Washington, DC together on January 6. Early in the day, they

encountered by chance a small group of members of a Kansas City chapter of the Proud Boys,

including co-defendants William Chrestman, Christopher Kuehne, Louis Colon, and Ryan

Ashlock. The Konolds asked whether they could accompany the Proud Boys and, when told they

could, they joined with members of the Kansas City chapter, and later, a larger group of

approximately 100 Proud Boys members and associates that marched from the Washington

Monument to the Capitol Building, away from the planned speeches. They arrived at the First




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Street gate near Peace Circle just as Congress was preparing to begin the certification proceedings

at 1:00 p.m., as required by law. See Gov. Ex. 2.




                 Still from Ex. 2 at 00:14 (Felicia and Cory Konold circled in red)

                                      Breach at Peace Circle

         Between Peace Circle and the Capitol building stood multiple lines of physical barricades,

including bike racks and temporary “snow fencing,” manned at various points by uniformed

officers of the U.S. Capitol Police (USCP). At intervals on the barricades were posted signs reading

“Area Closed” in large text.

         Within minutes of the group’s arrival at Peace Circle, certain members of the crowd crossed

the first line of barricades, approached a line of USCP officers who were guarding a fence inside

the restricted area, and began trying to force their way past the police line. Other members of the

crowd, including members of the Proud Boys, surged forward behind them. Upon seeing the

confrontation between rioters and officers, the Konolds—along with Chrestman—moved forward

through the crowd toward the skirmish. In the still below, Chrestman and Cory have their arms on

each others’ backs, and Felicia is visible between them in the tan hat with orange tape. See Gov.

Ex. 3.



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breach of the building, at the Senate Wing Door, at approximately 2:25 PM, roughly twelve

minutes after the initial breach.

       At the time of the Konolds’ entry, there were still parts of the building that had not yet been

taken by rioters. The police, however, were continuously forced to retreat because of the rioters’

overwhelming numbers, which allowed the crowd—including the Konolds and their Proud Boys

companions—to progress further into the Capitol.

       In particular, a group of rioters that included the Konolds and the Kansas City Proud Boys

chased police officers out of the Crypt and into a passageway leading to the Capitol Visitor Center.

Government Exhibit 7, which does not have sound, nonetheless shows the body language of the

fleeing officers illustrating their urgency as they tried to escape to safety behind an overhead gate

that was being lowered:




                                     Still from Ex. 7 at 00:16

       A clip of the same sequence from the viewpoint of a rioter, submitted here as Government

Exhibit 8, provides additional perspective, including audio of the crowd shouting at officers. The

same video shows Felicia standing directly beneath the descending gate and pushing up on it, with

Cory just behind her watching, while others throw chairs and the fleeing officers and shout “you’re


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scared now, motherfucker!” When the officers retreated toward the Capitol Visitor Center, the

Konolds and other members of the mob followed behind them.

       The Konolds and other rioters then moved into the Capitol Visitor Center, following in the

wake of the fleeing police, and remained there for a short time until they learned that a shooting

had taken place near the House floor, after which they returned to the Senate Wing Door and left

the building.

                                       Subsequent Conduct

       During the Konolds’ time in the Capitol building, Cory stole a police riot helmet, likely

after finding it on the ground. Based on the way he triumphantly brandished the helmet, he

appeared to regard it as a trophy of the rioters’ rout of the police and capture of the building:




                                  Stills from Ex. 8 at 04:35, 04:38

Cory took the helmet with him when he left the Capitol and traveled home; it was eventually turned

over to law enforcement with his cooperation.

       Felicia celebrated after the fact by taking to social media to celebrate her role. In a video

posted to her followers, she joyfully recounted: “I never could have imagined having that much of

an influence on the events that unfolded today. Dude, people were willing to follow. You fucking

lead, and everyone had my back.” Gov. Ex. 6 at 00:13 - 00:36. Similarly, in her private journal,

she acknowledged how much resistance from law enforcement she and her co-defendants had

overcome — they “persisted through rubber bullets, chemical sprays, baton beating, physical

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resistance and doors” — and noted what she believed to be the historical significance of their

achievement — they “occupied the Capitol building in Washington [for the first time] since the

British hundreds of years ago.” The journal celebrated that the American people “took a fucking

stand” against the “treasonous behavior of their corrupt government… causing the politicians to

run SO FAST from their seats.” Gov. Ex. 1 at 3-4.

   III.      THE CHARGES AND PLEA AGREEMENT

          On January 12, 2022, a federal grand jury returned a superseding indictment charging

Felicia Konold, Cory Konold, and others with Conspiracy, in violation of 18 U.S.C. § 371;

Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2); Obstruction of Law

Enforcement during a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); Entering and

Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1); and

Disorderly Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2)

On November 1, 2023, Felicia and Cory were each found guilty of Obstruction of Law

Enforcement during a Civil Disorder based on a guilty plea entered pursuant to a plea agreement.

   IV.       STATUTORY PENALTIES

          Felicia Konold and Cory Konold now face sentencing on one count each of 18 U.S.C. §

231(a)(3).

          As noted by the plea agreement and the Presentence Report issued by the U.S. Probation

Office, the defendants each face up to five years of imprisonment, a term of supervised release of

not more than three years, a fine up to $250,000, restitution, and a mandatory special assessment

of $100.




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    V.      THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). The government agrees with the guidelines calculation set forth in the Presentence Report

except for its application of a 2-level reduction to Cory Konold’s offense level because of his status

as a “zero-point offender.” 2

         Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. Section 4C1.1 will be in

effect at the time of sentencing in this matter, but was not in place at the time the parties entered

into the plea agreement.

         Section 4C1.1 does not apply in this case because the Konolds do not satisfy § 4C1.1(a)(3)

(“the defendant did not use violence or credible threats of violence in connection with the

offense”). As described above, both Felicia and Cory used violence when they and others forcibly

shoved against a barricade in an effort to overpower the officers on the other side. “Violence,” in

federal criminal law, generally means physical force against a person or property. See 18 U.S.C. §

16; see also, e.g., United States v. Bochene, 21-cr-418 (RDM) (denying § 4C1.1 reduction to Jan.

6 defendant convicted of 18 U.S.C. § 1752(a)(1) who attempted to break a window); United States

v. Giberson, 23-cr-115 (CJN) (denying § 4C1.1 reduction to Jan. 6 defendant convicted of 18

U.S.C. § 231 who helped shove against officers in tunnel). In this case, the Konolds used force —

indeed, the full force of their combined strength — to try to topple a barricade. And although this



2
  As the Presentence Report for Felicia Konold correctly reflects, she is not eligible for the
reduction because she has a prior conviction that scores a criminal history point. For both
defendants, the application of § 4C1.1 would have no effect on the advisory guideline range.

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effort did not involve going “hands on” with an individual officer, the Konolds used force

transitively against the police who were pushing against the barrier from the other side in an

attempt to prevent the crowd’s advance. The potential for injury from the Konolds’ conduct is

obvious, as demonstrated by the injuries sustained by multiple officers during the Peace Circle

breach when they were knocked over by rioters pushing through the barriers there.

        The Konolds’ use of force at the Capitol is especially disqualifying given the context that

preceded and surrounded it, including their lengthy participation in a mob that was highly violent

in the aggregate. The January 6 riot was a violent attack that threatened the lives of legislators and

their staff, interrupted of the certification of the 2020 Electoral College vote count, did irrevocable

harm to our nation’s tradition of the peaceful transfer of power, caused more than $2.9 million in

losses, and injured more than one hundred police officers. Every rioter, whether or not they

personally engaged in violence or personally threatened violence, contributed to this harm. See,

e.g., United States v. Rivera, 21-cr-60 (CKK), ECF No. 62 at 13 (“Just as heavy rains cause a flood

in a field, each individual raindrop itself contributes to that flood. Only when all of the floodwaters

subside is order restored to the field. The same idea applies in these circumstances. Many rioters

collectively disrupted congressional proceedings and each individual rioters contributed to that

disruption.   Because [the defendant’s] presence and conduct in part caused the continued

interruption to Congressional proceedings, the court concludes that [the defendant] in fact impeded

or disrupted the orderly conduct of Government business or official functions”).

       Moreover, the Sentencing Commission enacted § 4C1.1 based on recidivism data for

offenders released in 2010. See U.S. SENT’G COMM’N, RECIDIVISM OF FEDERAL

OFFENDERS RELEASED IN 2010 (2021), available at https://www.ussc.gov/research/research-

reports/recidivism-federal-offenders-released-2010. Given the unprecedented nature of the Capitol



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attack, there is no reason to believe this historical data is predictive of recidivism for defendants

who engaged in acts of political extremism on January 6. This is particularly so given the degree

to which individuals, including defendants who have been sentenced, continue to propagate the

same visceral sentiments which motivated the attack.

       Due to the unique nature of the January 6 mob, the harms caused by the January 6 riot, and

the significant need to deter future mob violence, the government submits that even if the Court

finds that § 4C1.1 applies, the Court should nevertheless vary upwards by two levels to counter

any reduction in offense level. Such treatment would recognize the unique nature of the criminal

events of January 6, 2021, coupled with the overwhelming need to ensure future deterrence, despite

a person’s limited criminal history.

       Finally, to avoid unnecessary litigation, if the court declines to apply § 4C1.1, the

government requests that the Court make clear at sentencing that it would have imposed the same

sentence regardless of whether § 4C1.1 applies. 3

       The U.S. Probation Office calculated both defendants’ criminal history as category I, which

is not disputed. PSR ¶ 56. Accordingly, based on the government’s calculation of the defendant’s

total adjusted offense level, after acceptance of responsibility, at 8, the Guidelines imprisonment

range for both defendants is 0 to 6 months’ imprisonment. The defendants’ plea agreements

contain an agreed-upon Guidelines range calculation that mirrors the calculation contained herein.




3
  U.S.S.G. § 5C1.1 has also been amended with a new application note providing that if a
defendant receives an offense level reduction under §4C1.1 and either their applicable guideline
range is in Zone A or B of the Sentencing Table, or the guideline range overstates the seriousness
of the offense, imprisonment may not be appropriate. See U.S.S.G. § 5C1.1, comment. n. 10. The
government submits that for the same reasons that § 4C1.1 should not be applied in this case, a
sentence of imprisonment is appropriate notwithstanding Application Note 10 to § 5C1.1.

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   VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

         In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

         A.     Nature and Circumstances of the Offense

         As shown in Section II(B) of this memorandum, the felonious conduct of Felicia Konold

and Cory Konold on January 6, 2021, was part of a massive riot that almost succeeded in

preventing the certification vote from being carried out, frustrating the peaceful transition of

Presidential power, and throwing the United States into a Constitutional crisis. The Konolds stood

proudly at the forefront of that riot at multiple key junctures, and they joined directly in physically

resisting law enforcement. The nature and circumstances of the offense were of the utmost

seriousness, and fully support the government’s recommendation of a custodial sentence.

         B. The History and Characteristics of the Defendants

         Felicia Konold was 26 when she took part in the attack on the Capitol and is 29 now. Based

on her statements to the Probation Office,




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       Regardless, nothing in Felicia’s background significantly mitigates her culpability for the

offense of conviction. As shown by her statements before and after the event, and by her sustained

efforts over a lengthy period of time at the Capitol, Felicia’s criminal acts were not the result of a

sudden impulse or a failure to know right from wrong. Rather, as her diary indicates, she

committed the crime because she chose to place her opposition to the government above all over

concerns, including the law and her own family. Felicia “persisted through rubber bullets, chemical

sprays, baton beating, physical resistance and doors” and “occupied the Capitol building in

Washington [for the first time] since the British hundreds of years ago” — all in order to “[take] a

fucking stand” against the “treasonous behavior of their corrupt government.” Gov. Ex. 1 at 3-4.

She proudly recorded her joy at “causing the politicians to run SO FAST from their seats.” Id. And

as her pre-planning notes indicate, she fully anticipated that she would be engaged in violence,

creating an apparent gear list that included bear spray. Nothing in her background excuses this

course of conduct, which warrants a significant period of incarceration.

       Cory Konold was 25 when he took part in the attack on the Capitol and is 28 now. His

motivations for committing the offense are somewhat less clear, as the government does not

possess contemporaneous statements like those from Felicia. Whatever his reasons for going to

the Capitol, however, Cory’s actions and demeanor throughout the riot show that he

enthusiastically embraced the unlawful course of conduct on which he embarked. The image above

of Cory cheering while triumphantly lifting a USCP helmet over his head, right after he had

watched officers run for their lives from the pursuing mob, speaks nearly as loudly as Felicia’s

social media posts celebrating what transpired.




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         The government is aware of nothing in Cory’s background that might mitigate his

culpability for the offense. His history and characteristics, therefore, weigh in favor of a sentence

in the middle of the guidelines range.

         C.     The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

         As with the nature and circumstances of the offense, this factor supports a sentence of

incarceration. The Konolds’ criminal conduct on January 6 was the epitome of disrespect for the

law.

         D.     The Need for the Sentence to Afford Adequate Deterrence

                                         General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 4 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                         Specific Deterrence

         The need for the sentence to provide specific deterrence to these particular defendants also

weighs in favor of a lengthy term of incarceration.

         Felicia has a criminal record predating the instant offense; as the PSR documents, she

committed a DUI offense in February of 2020 in which she was sufficiently intoxicated to cause a

serious wreck. What’s more, Felicia’s DUI case was pending when she committed the instant

offense. She ultimately received a plea deal that resulted in no custodial sentence, but even before



4
    See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).

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that case was resolved, the prospect of facing criminal consequences was not enough to deter her

from committing a subsequent, even more serious, crime. A significant custodial sentence is now

necessary to impress upon Felicia that future criminal acts will have real consequences.

       Cory’s actions at the Capitol, as compared to Felicia’s, were less egregious and appear

more akin to those of someone tagging along with his sister, the driving force of the pair. This fact

does not, however, diminish the need for specific deterrence. Cory committed a felony and did so

with apparent glee — despite seeing acts of violence against police and property all around him

throughout the course of the day. In video of the riot, it does not appear even once that Cory tried

to calm down his sister or to be the voice of reason. Instead, he joined her in stampeding over the

fences, shoving against the barricades, and pursuing fleeing officers through the building. The next

time Cory faces a choice between joining in wrongdoing or walking away, his decision must be

informed by the reality of the consequences.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national




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sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007). In short, “the Sentencing Guidelines are themselves an anti-

disparity formula.” United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017); accord United

States v. Sanchez, 989 F.3d 523, 540 (7th Cir. 2021). Consequently, a sentence within the

Guidelines range will ordinarily not result in an unwarranted disparity. See United States v. Daniel

Leyden, 21-cr-314 (TNM), Sent. Hrg. Tr. at 38 (“I think the government rightly points out

generally the best way to avoid unwarranted sentencing disparities is to follow the guidelines.”)

(statement of Judge McFadden); United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Hrg. Tr.

at 49 (“as far as disparity goes, … I am being asked to give a sentence well within the guideline

range, and I intend to give a sentence within the guideline range.”) (statement of Judge Chutkan).

       Moreover, Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to

impose a sentence sufficient, but not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing

disparities in Section 3553(a)(6) is “only one of several factors that must be weighted and

balanced,” and the degree of weight is “firmly committed to the discretion of the sentencing



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judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of

the Section 3553(a) factors means that “different district courts may have distinct sentencing

philosophies and may emphasize and weigh the individual § 3553(a) factors differently; and every

sentencing decision involves its own set of facts and circumstances regarding the offense and the

offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district

courts can and will sentence differently—differently from the Sentencing Guidelines range,

differently from the sentence an appellate court might have imposed, and differently from how

other district courts might have sentenced that defendant.” Id. at 1095. “As the qualifier

‘unwarranted’ reflects, this provision leaves plenty of room for differences in sentences when

warranted under the circumstances.” United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013). 5

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). 6

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating


5
  If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).
6
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.

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factors present here, the sentences in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       In United States v. Cooke, 1:22-CR-00052, the defendant, like the Konolds, was one of the

first participants in a perimeter breach, and like Felicia he bragged about it afterward. Like the

Konolds, he pushed against a bicycle rack manned by officers, and like Felicia he verbally incited

other rioters. Like these defendants, Cooke pleaded guilty to one count of civil disorder in violation

of 18 U.S.C. § 231(a)(3). Although Cooke’s guideline range was higher because he made direct

physical contact with an officer, and he also used a flagpole to strike an already-broken window,

his conduct was less serious than the Konolds’ in other ways because (1) the breach Cooke was

part of was subsequent to the original breach that the Konolds helped accomplish; (2) Cooke,

unlike the Konolds, did not enter the building; and (3) Cooke did not act as part of a large

coordinated group like the Konolds did. Cooke was sentenced to one year and one day in prison. 7

       United States v. Cortez, 1:21-CR-00317, is another comparable case involving a guilty plea

to the same offense. In Cortez, the defendant did not arrive at the Capitol until the riot was already

well underway; unlike the Konolds, he was not part of the first wave to breach the restricted area.

Like the Konolds, however, Cortez entered the building and was, at times, active on the front lines

of rioters, undeterred by officers’ efforts to disperse the crowds. Like Felicia, he shouted

incitement at fellow rioters and taunts at the police. And like Felicia, his social media activity

afterward showed that he regarded himself as a hero for the way he acted at the Capitol. Cortez

was sentenced to four months in custody.




7
  The government requested 11 months, but the Court increased the sentence to over one year at
the request of the defense to make the defendant eligible for more favorable Bureau of Prisons
time computation.

                                                   20
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       It bears noting that the defendants discussed just above—like the vast majority of January

6 defendants—acted individually or in small family/friend groups. The Konolds, by contrast,

joined early in the day with a large and organized group, greatly increasing their effectiveness in

creating disorder and contributing to the day’s events. This is an aggravating factor that sets the

Konolds apart from the mine-run defendant convicted of 18 U.S.C. § 231(a)(3).


    VII.   RESTITUTION

       The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA). 8 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that the Konolds must each pay $2,000 in restitution, which reflects



8
  The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).

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in part the role they both played in the riot on January 6. 9 See ECF 206 at ¶ 13 (Felicia); ECF 209

at ¶ 13 (Cory). As the plea agreements reflect, the riot at the United States Capitol had caused

“approximately $2,881,360.20” in damages, a figure based on loss estimates supplied by the

Architect of the Capitol and other governmental agencies as of October 2022. Id. (As noted above

in footnote 1, the amount of damages has since been updated by the Architect of the Capitol,

USCP, and MPD.) The defendants’ restitution payments must be made to the Clerk of the Court,

who will forward the payment to the Architect of the Capitol and other victim entities. See Felicia

Konold PSR ¶ 100; Cory Konold PSR ¶ 100.




9
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).

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   VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of, for Felicia Konold, 6 months in custody; and for Cory Konold, 3 months in custody,

plus 3 years of supervised release for both defendants.

                                             Respectfully submitted,

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